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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

ROLAND ROLLINS and DEBRA
ROLLINS, husband and wife,
                                  Plaintiffs,
v.                                                  Case No: 5:13-cv-513 L

ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY,
                                 Defendant.

                       JOINT STIPULATION OF DISMISSAL


       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

Plaintiffs, Roland and Debra Rollins and the Defendant, Allstate Property and Casualty

Insurance Company, hereby stipulate through their respective counsel that this case is

dismissed with prejudice to the re-filing thereof, with each party to bear its own costs and

attorney fees.

       Dated this 23rd day of May, 2014.

s/Steven S. Mansell                             s/Lance E. Leffel
                                                (Signed by Filing Attorney with permission of Defendant Attorney)
Steven S. Mansell, OBA #10584
Mark A. Engel, OBA #10796                       Lance E. Leffel, OBA# 19511
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ATTORNEYS FOR PLAINTIFF                         ATTORNEYS FOR DEFENDANT
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                           CERTIFICATE OF SERVICE

      I hereby certify that on May 23, 2014, I electronically transmitted the attached
document to the Clerk of the Court using the ECF system for filing and transmittal of a
Notice of Electronic Filing to the following registrants:

Lance Leffell @ lleffel@fellerssnider.com



ATTORNEYS FOR DEFENDANTS -


                                                     s/Steven S. Mansell
